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 EXHIBIT 1
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III.   Investigation Details

October 19, 2023 – October 30, 2023
The assigned case was received and reviewed. The investigator contacted the seller via WhatsApp
at 925-915-9739 requesting additional information regarding the service mentioned on a flyer.

The seller stated that the device was $85 and that the 3-month service was $45. Additionally, the
1-year service was $150. The investigator selected the 3-month service with the device; at which
time the seller confirmed the shipping details and mentioned that the package would ship from
Danville Bay. Moreover, the seller provided the payment options of Zelle and PayPal.

The investigator selected the PayPal payment option and submitted the payment to the account
with the email address: vaneetsharma@vastuexpertusa.com. It was noted that the payment
recipient was “astro vastu solutions llc” with the phone number: 925-628-3334. Please refer to
Appendix A for details regarding the purchasing process.

The seller confirmed the payment and provided the following list of services to choose from:
Global, Spice, Smart, Zenga and Gold. The investigator selected Smart. Please refer to Appendix
B for details regarding the conversation with the content provider.

The investigator noticed that the payment was refunded the next day without notice.
Additionally, the package was received from the seller. It was noted that the sender was Vaneet
Sharma (Sharma IPTV) located at 500 E Calaveras Blvd, Suite 200, Milpitas CA 95035. An image of
the package was captured and included in Appendix A. Note: The package was not opened or
tampered with. The package was mailed to RMB Consulting Inc. pursuant to the Client’s request.




IV.    Conclusion and Case Status

Lynx Investigations completed the objectives of the assignment. No recommendations are made
at this time. The case status is: closed.




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11/8/23, 9 05 AM        Case 3:24-cv-00961-JSC Document
                                                  Gmail You8-3
                                                            sent a Filed
                                                                   $135 0002/20/24
                                                                          USD payment Page 6 of 15



                                                                                                                           @gmail.com>



  You sent a $135.00 USD payment
  1 message

  service@paypal.com <service@paypal.com>                                                                 Mon, Oct 23, 2023 at 5:12 PM
  To:                         @gmail.com>


            Hello,




                   You sent $135.00 USD to astro vastu
                   solutions llc
                   YOUR NOTE TO astro vastu solutions llc

                                            3 month warranty

                   Transaction Details

                   Transaction ID                                                                        Transaction date
                   91F88893HC0183539                                                                     October 23, 2023




                   Money sent                                                                               $135.00 USD

                   Paid with:


                   VISA                                                                                       $135.00 USD

                   This transaction will appear on your statement as PAYPAL *AV SOLUTION




                   You paid                                                                                   $135.00 USD

                   astro vastu solutions llc will receive                                                     $135.00 USD


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                                                                                                                             @gmail.com>



  Refund from astro vastu solutions llc
  1 message

  service@paypal.com <service@paypal.com>                                                                     Tue, Oct 24, 2023 at 12:02 PM
  To:                         @gmail.com>




                                                                                       Transaction ID: 2JP14799RK800662X



            astro vastu solutions llc just sent you a
            refund
            Dear

            astro vastu solutions llc just sent you a full refund of $135.00 USD for your purchase.

            If you have any questions about this refund, please contact astro vastu solutions llc.

            To see all the transaction details, please log into your PayPal account. It may take a few
            moments for this transaction to appear in your account.


            Merchant information                                      Notes from merchant
            astro vastu solutions llc                                 i think you sent to wrong account

            vaneetsharma@vastuexpertusa.com
            http://www.vastuexpertusa.com

            925-628-3334



            Original transaction details


              Description                                              Unit price                     Qty                 Amount


              Purchase from astro vastu solutions llc




                                                                                                   Total:           $135.00 USD


                                                                  Refund to XXXX-XXXX-XXXX-               :         $135.00 USD




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